

Matter of Fisher (2018 NY Slip Op 05900)





Matter of Fisher


2018 NY Slip Op 05900


Decided on August 23, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 23, 2018


[*1]In the Matter of MARK FISHER, an Attorney. (Attorney Registration No. 4758058)

Calendar Date: August 13, 2018

Before: Devine, J.P., Clark, Mulvey, Aarons and Pritzker, JJ.


Mark Fisher, Boca Raton, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Mark Fisher was admitted to practice by this Court in 2009 and lists a business address in Boca Raton, Florida with the Office of Court Administration. Fisher has applied to this Court, by affidavit sworn to July 20, 2018, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Fisher's affidavit is defective.
In reply to AGC's opposition, however, Fisher has submitted a supplemental affidavit, sworn to August 13, 2018, in which he corrects the defects previously identified by AGC. Inasmuch as AGC voices no substantive objection to his application, and since the information provided in Fisher's supplemental affidavit raises no questions concerning his eligibility for
nondisciplinary resignation (compare Matter of Mingal, 162 AD3d 1199, 1199 [2018]), we grant the application and accept his resignation.
Devine, J.P., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Mark Fisher's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Mark Fisher's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it [*2]is further
ORDERED that Mark Fisher is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Fisher is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Mark Fisher shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








